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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                     AT CHARLESTON
_______________________________________
                                            )
THE WEST VIRGINIA COALITION                 )
AGAINST DOMESTIC VIOLENCE, INC.,            )
                         Plaintiff,         )
                                            )
v.                                          ) Civil Action No: 2:19-cv-00434
                                            )
PATRICK J. MORRISEY, in his official        )
capacity as Attorney General for the        )
State of West Virginia,                     )
                        Defendant.          )
                                            )
_______________________________________)

                               DECLARATION OF
                                 DIRECTOR OF PROGRAM D

       1.      I am the Director of the                                                    , which is

designated as “Program D” in this lawsuit. Program D is a member program in the West Virginia

Coalition Against Domestic Violence (WVCADV). I have been the Director of Program D since

2017, and have more than seven years of experience in the field of domestic violence services. I

make this declaration based on my own personal knowledge, from my work for Program D. If

called as a witness I could competently testify to the matters set forth in this declaration.

       2.      Program D operates a 16-bed shelter in a converted house, as well as administrative

offices (called the “activity center”) in a neighboring building, a visitation and exchange center at

a separate location, and three outreach offices in counties that we serve. We have a parking lot

with about seven spaces located behind the shelter, as well as a separate parking area located next

to the activity center. Our visitation and exchange center also has a parking lot that it shares with

an elementary school, though the hours of operation for the visitation and exchange program mean

that there is basically no overlap with school personnel using the lot.

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        3.      Program D offers a 24/7 emergency shelter, crisis hotline, and emergency

intervention for victims of domestic violence. We also offer case management, court advocacy,

housing advocacy, counseling, support groups, safety planning, programs for children, teen dating

safety and batterers intervention/prevention, and emergency intervention for victims of domestic

violence.

        4.      Program D’s mission is to eliminate domestic violence through leadership,

education, empowerment, and community collaboration. We are dedicated to using trauma-

informed speech and guidance to identify short- and long-term goals for clients, and support clients

in fulfilling them.

        5.      For Program D’s clients, just the presence of a firearm is a threat. We regularly

serve clients who have been shot. For example, we recently served three clients who came to the

shelter directly from the hospital after having been treated for gunshot wounds. One of these

women is now permanently disabled. Others have been victimized without being shot: around

30% of our shelter clients have been threatened with a gun. One recent shelter client was a woman

who fled with her son from an abuser who held a gun to the child’s head as a way to terrorize and

control his victim. I recently accompanied a different client to court as an advocate; she was

staying at our shelter because her husband held a handgun to her head and to her daughter’s head.

As he passed by the waiting room at the courthouse, he made a gun-to-the-head motion while

looking at his wife, knowing that this gesture alone was enough to terrorize her, given what he had

already put her through.

        6.      A critical aspect of Program D’s work is making clients who have been traumatized

this way these feel safe both physically and emotionally. One way we do this is by prohibiting

firearms on all of Program D’s property. Our policies state that no weapons are permitted on



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Program D’s premises, and this means anywhere on Program D’s property including in its parking

lots. Clients are informed of this policy and given a written copy at intake. Signs reading “No

Weapons” are hanging in the activity center and in the main hallway of the shelter.

        7.      Our “no weapons” policy is important to protecting the safety of shelter residents

and staff. Survivors of domestic violence often keep weapons for protection—most often knives

or pepper spray, but sometimes a gun. In Program D’s experience, these weapons are dangerous

in the communal living situation of a domestic violence shelter, where arguments can escalate.

The knives in our shelter’s kitchen are now secured with a lock, for this reason. So are knives and

pepper spray that belong to residents; these must be turned over and locked up in a staff office,

and are returned only when residents leave the shelter. A gun would pose an even greater danger,

particularly if accessed by someone unfamiliar with how to handle them, or by someone suffering

from post-traumatic stress disorder as many of our clients do.

        8.      Another serious risk to having firearms on our property is the danger that they could

be found by a child staying at our shelter; we require that all medications be kept under lock and

key for this reason. If Program D staff learns that a client or guest has a firearm in their car, we

would want them to enforce the no-weapons policy and have that person remove the weapon from

our property, or park off-site. But with the change in the law, we are now unsure whether staff

can ask about a gun the way they can if they suspect a knife or some other kind of contraband in

someone’s car, and whether we can ask the person to move the weapon off of Program D property

for the safety of our residents and staff.

        9.      Program D’s staff are also prohibited from having a firearm on any Program D

property, and can be disciplined or discharged for violating the policy. This policy is found in our

employee handbook, and employees are trained on this as part of new hire orientation.



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        I 0.    Program D's "no weapons" policies exist not only to ensure the physical safety of

clients, but to ensure their emotional safety as well. To provide effective counseling and other

services to clients, we have to be able to build a rapport with clients where they feel safe. This is

a key aspect of trauma-informed care for victims and survivors of violence, which is at the heart

of Program D's mission. We work to provide a physically and mentally safe and welcoming space

for survivors of trauma, and this means ensuring that they will not be re-traumatized             by

encountering a firearm or other weapon. Forcing Program D to allow firearms on any part of its

property makes it difficult to provide the safe environment that our clients need, and makes it

harder to provide them effective services.

I declare under penalty of perjury that the foregoing is true and correct.


Executed on ,    \curd')                          , 2021.




                                                                    Director, Program D




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